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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )
                                            )
v.                                          )
                                            )      Crim. No. 17-201- 01 (ABJ)
PAUL J. MANAFORT, JR.,                      )
                                            )
               Defendant.                   )


                       DEFENDANT PAUL J. MANAFORT, JR.’S
                        MOTION TO MODIFY CONDITIONS OF
                      RELEASE FOR THANKSGIVING HOLIDAYS

       Paul J. Manafort, Jr., by and through counsel, hereby moves this Court to modify

the conditions of release for the limited purpose of local travel over the Thanksgiving

holidays, pursuant to the Court’s Minute Order dated November 20, 2017. Counsel for

Mr. Manafort has conferred with the Government, which has no objection, subject to the

following conditions: (1) that Pretrial Services be provided with the names and addresses

of the locations to which he seeks to travel; (2) that Mr. Manafort consume no alcohol

during this time; (3) that the GPS device remains on while out of his residence; and (4)

any other conditions that the Court or Pretrial Services may impose. Mr. Manafort agrees

to such conditions.




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       WHEREFORE, Defendant Manafort, without objection of the Government,

moves to modify his current conditions of release for the limited purpose of local travel

over the Thanksgiving holidays.



Dated: November 20, 2017                           Respectfully submitted,



                                                   ______________________________
                                                   Kevin M. Downing
                                                   (DC Bar # 1013984)
                                                   Thomas E. Zehnle
                                                   (DC Bar #415556)
                                                   (202) 754-1992




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